Case 3:24-cv-00986-E Document 146 Filed 06/12/24    Page 1 of 20 PageID 2077



               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS

RYAN, LLC,
                      Plaintiff,
          v.                                 Civil Action No. 3:24-cv-986-E
FEDERAL TRADE COMMISSION,
                      Defendant.

             RYAN, LLC’S REPLY BRIEF IN SUPPORT OF
           MOTION FOR STAY OF EFFECTIVE DATE AND
                 PRELIMINARY INJUNCTION


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 Case 3:24-cv-00986-E Document 146 Filed 06/12/24                              Page 2 of 20 PageID 2078


                                        TABLE OF CONTENTS

                                                                                                            Page(s)

INTRODUCTION AND SUMMARY OF ARGUMENT .........................................1

PROCEDURAL STATEMENT .................................................................................2

ARGUMENT .............................................................................................................3

   I.        Ryan Is Likely To Succeed On The Merits. .................................................3

        A.     The Commission Lacks Authority To Issue The Rule..............................3

        B.     The Commission’s Claimed Authority Would Violate The
               Non-Delegation Doctrine. ......................................................................10

   II.       Ryan Will Be Irreparably Harmed. ............................................................ 11

   III.      The Equities And Public Interest Favor Preliminary Relief. ..................... 11

CONCLUSION ........................................................................................................12




                                                           i
 Case 3:24-cv-00986-E Document 146 Filed 06/12/24                             Page 3 of 20 PageID 2079


                                     TABLE OF AUTHORITIES
                                                                                                          Page(s)

                                                      Cases
A.L.A. Schechter Poultry Corp. v. United States,
   295 U.S. 495 (1935) ........................................................................................3, 10

Atl. Richfield Co. v. Christian,
   140 S. Ct. 1335 (2020) ..........................................................................................7
Biden v. Nebraska,
   143 S. Ct. 2355 (2023) ..........................................................................................9

CFTC v. Schor,
  478 U.S. 833 (1986) ......................................................................................4, 5, 6
Chamber of Commerce v. OSHA,
  636 F.2d 464 (D.C. Cir. 1980) .............................................................................. 5
Collins v. Mnuchin,
  938 F.3d 553 (5th Cir. 2019) ................................................................................5

FCC v. Fox Television Stations, Inc.,
  556 U.S. 502 (2009) ............................................................................................10
FTC v. Bunte Bros.,
  312 U.S. 349 (1941) ..............................................................................................7

FTC v. R.F. Keppel & Bro., Inc.,
  291 U.S. 304 (1934) ............................................................................................10

ICC v. Cincinnati, N. O. & T. P. Ry. Co.
  167 U.S. 479 (1897) ..............................................................................................9

McDonald v. Longley,
  4 F.4th 229 (5th Cir. 2021) ...................................................................................3

NFIB v. OSHA,
  595 U.S. 109 (2022) ..............................................................................................8

Rest. Law Ctr. v. DOL,
   66 F.4th 593 (5th Cir. 2023) ...............................................................................10

                                                              ii
 Case 3:24-cv-00986-E Document 146 Filed 06/12/24                                 Page 4 of 20 PageID 2080


                                                                                                               Page(s)

Solid Waste Agency of N. Cook Cnty. v. U.S. Army Corps of Eng’rs,
   531 U.S. 159 (2001) ..........................................................................................2, 5

Texas v. Becerra,
   577 F. Supp. 3d 527 (N.D. Tex. 2021) ...............................................................12
Texas v. Biden,
   10 F. 4th 538 (5th Cir. 2021) ..............................................................................11

Util. Air Reg. Grp. v. EPA,
   573 U.S. 302 (2014) ..........................................................................................8, 9

West Virginia v. EPA,
  597 U.S. 697 (2022) ................................................................................1, 8, 9, 10
                                                       Statutes

15 U.S.C. § 45(a)(2) ...................................................................................................3
15 U.S.C. § 45a ..........................................................................................................4

15 U.S.C. § 46(g) .......................................................................................................3
15 U.S.C. § 57a(a)(1) .................................................................................................4
15 U.S.C. § 57a(a)(2) .................................................................................................6
15 U.S.C. § 57b-3(a)(1) .............................................................................................7

15 U.S.C. § 1194(c) ...................................................................................................4
                                            Regulatory Materials

Federal Trade Commission, Misbranding and Deception as to Leather
   Content of Waist Belts, 29 Fed. Reg. 8,166 (June 27, 1964) ................................ 5

Federal Trade Commission, Non-Compete Clause Rule (rel. Apr. 23,
   2024), available at https://tinyurl.com/2s4kcf84 ..............................................6, 8

Federal Trade Commission, Power Output Claims for Amplifiers Used
   in Home Entertainment Products, 39 Fed. Reg. 15,387
   (May 3, 1974)........................................................................................................5


                                                           iii
 Case 3:24-cv-00986-E Document 146 Filed 06/12/24                              Page 5 of 20 PageID 2081


                                                                                                            Page(s)

                                             Other Authorities
The FTC Decrees: No More Non-Compete Agreements, Wall St. J.
   (Apr. 24, 2024), https://on.wsj.com/4bHYtHq ..................................................... 1

The FTC’s noncompete clause rule goes too far, Wash. Post (May 7,
   2024), https://wapo.st/4573ffh ..............................................................................1

S. Conf. Rep. 93-1408 (1974) ....................................................................................6

S. Rep. 93-151 (1973) ................................................................................................6
S. Rep. 96-500 (1979) ................................................................................................8




                                                          iv
 Case 3:24-cv-00986-E Document 146 Filed 06/12/24       Page 6 of 20 PageID 2082



              INTRODUCTION AND SUMMARY OF ARGUMENT

      The Federal Trade Commission has adopted one of the most consequential

and controversial employment rules in history—invalidating 30 million contracts,

banning a centuries-old practice legal in 46 States, and triggering over $400 billion

in economic effects. The Non-Compete Rule has been front-page news, with

editorial boards across the ideological spectrum condemning the Commission’s

overreach, and 66 amici weighing in. See, e.g., The FTC’s noncompete clause rule

goes too far, Wash. Post (May 7, 2024), https://wapo.st/4573ffh; The FTC Decrees:

No    More     Non-Compete       Agreements,    Wall     St.   J.   (Apr. 24, 2024),

https://on.wsj.com/4bHYtHq. Yet the Commission denies that whether it has the

authority to promulgate an unfair-method-of-competition rule banning non-

competes is a major question.

      Of course it is. This is the first time the Commission has promulgated a bona

fide unfair-method-of-competition rule. The Rule is a “transformative expansion in

its regulatory authority.” West Virginia v. EPA, 597 U.S. 697, 724 (2022). And the

Commission has used this newfound “extravagant statutory power over the national

economy” to answer a question of “vast economic and political significance.” Id. at

724, 716. Unless the agency’s statutory authority is “clear,” the Rule is unlawful.

Id. at 723.




                                         1
 Case 3:24-cv-00986-E Document 146 Filed 06/12/24       Page 7 of 20 PageID 2083



      The FTC Act does not provide authority, clear or otherwise. Congress does

not bury the authority to promulgate a rule banning non-competes in ancillary

provisions like Section 6(g). The Commission nevertheless argues that Congress

ratified its interpretation of Section 6(g) in the Magnuson-Moss Act and FTC

Improvements Act. But there was no practice of promulgating unfair-method-of-

competition rules to ratify.    In any event, those statutes do not supply the

“overwhelming evidence of acquiescence” needed to “replace the plain text and

original understanding of a statute with an amended agency interpretation.” Solid

Waste Agency of N. Cook Cnty. v. U.S. Army Corps of Eng’rs, 531 U.S. 159, 169 n.5

(2001) (“SWANCC”).

      The Commission barely contests Ryan’s irreparable harm and equitable

arguments, likely because the Rule will manifestly impose irreparable compliance

costs and because equity dictates maintaining the centuries-old status quo while the

Commission’s novel—and unlawful—claim of authority is legally tested.

      The Court should grant a stay and preliminary injunction.

                         PROCEDURAL STATEMENT

      The procedural posture, issues, and standard of review have not changed since

Ryan filed its motion. See ECF 24 at 12.




                                           2
 Case 3:24-cv-00986-E Document 146 Filed 06/12/24                      Page 8 of 20 PageID 2084



                                           ARGUMENT

  I.    Ryan Is Likely To Succeed On The Merits.

        A. The Commission Lacks Authority To Issue The Rule.

        The text, history, and structure of the FTC Act show the Commission lacks

authority to issue unfair-method-of-competition rules, and the major questions

doctrine resolves any doubt.

            1. Section 6(g) Does Not Authorize Unfair-Method-of-Competition
               Rules.

        Congress does not hide major components of a regulatory scheme like the

power to promulgate unfair-method-of-competition rules in mouseholes like the

latter half of the seventh subsection of a section containing otherwise ministerial and

investigative powers. The Commission notes (at 20) that the FTC Act was a major

law. But Section 5’s adjudication scheme is the centerpiece; Section 6(g) is an

ancillary provision authorizing rules to support the adjudication framework, not to

supplant it. 15 U.S.C. § 46(g).1

        That reading of Section 6(g) matches the contemporaneous understandings of

both the Commission itself, ECF 24 at 15, and the Supreme Court, A.L.A. Schechter

Poultry Corp. v. United States, 295 U.S. 495, 532-33 (1935). It also accords with

the early-1900s congressional practice of pairing substantive rulemaking authority


        1
         The Commission claims (at 16) that Section 5’s directive “to prevent” entities “from using unfair
methods of competition,” 15 U.S.C. § 45(a)(2), “contemplates … forward-looking rulemaking,” but that
simply reflects the Commission’s ability to issue cease-and-desist orders.


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 Case 3:24-cv-00986-E Document 146 Filed 06/12/24       Page 9 of 20 PageID 2085



with penalties for violating those rules, see ECF 24 at 14-15—a practice the

Commission does not dispute.

      The surplusage canon likewise indicates that Section 6(g) does not authorize

substantive rulemaking.    Contrary to the Commission’s assertion (at 19) that

Congress has merely “direct[ed] the Commission” to use its existing authority,

Congress has expressly granted authority to promulgate specific types of substantive

rules. See, e.g., 15 U.S.C. § 57a(a)(1) (“the Commission may prescribe … rules

which define with specificity … unfair or deceptive acts or practices”); id. § 45a

(“The Commission … may … issue [Made in America labeling] rules”); id. § 1194(c)

(“The Commission is authorized and directed to prescribe” flammability rules).

Those grants would be superfluous if Section 6(g) already provided substantive

rulemaking power.

         2. Congress Did Not Ratify The Commission’s Interpretation.

      Recognizing that Section 6(g) is an awfully slim reed, the Commission

suggests Congress ratified its interpretation through the Magnuson-Moss Act and the

FTC Improvements Act. Neither statute comes close to the standard for ratification.

      Although the Supreme Court once observed that Congress’s revisiting a

statute without making “pertinent change” is evidence that a “longstanding

administrative interpretation” is correct, CFTC v. Schor, 478 U.S. 833, 846 (1986),

it has since recognized that “congressional acquiescence” should be recognized



                                         4
Case 3:24-cv-00986-E Document 146 Filed 06/12/24        Page 10 of 20 PageID 2086



“with extreme care” and only if there is “overwhelming evidence of acquiescence.”

SWANCC, 531 U.S. at 160, 169 n.5; see also Collins v. Mnuchin, 938 F.3d 553, 572

(5th Cir. 2019). The Commission does not—and could not—offer overwhelming

evidence.

      Even under Schor, however, there has been no ratification. First, there was

no “longstanding administrative interpretation” allowing unfair-method-of-

competition rulemaking for Congress to ratify. Schor, 478 U.S. at 486. For most of

its history, the Commission interpreted Section 6(g) to grant no rulemaking authority

at all. ECF 24 at 15. While the Commission promulgated substantive rules for a

brief period before Magnuson-Moss, the substance of those rules defined narrow

unfair or deceptive acts or practices (“UDAPs”)—most commonly deceptive

advertising. See, e.g., 29 Fed. Reg. 8,166 (June 27, 1964) (“Misbranding and

Deception as to Leather Content of Waist Belts”); 39 Fed. Reg. 15,387 (May 3, 1974)

(“Power Output Claims for Amplifiers Used in Home Entertainment Products”).

The Commission sometimes added as an afterthought that those UDAPs were also

unfair methods of competition, but that boilerplate language does not make them

unfair-method-of-competition rules “just because the agency says” they are.

Chamber of Commerce v. OSHA, 636 F.2d 464, 468 (D.C. Cir. 1980). “Instead, it is

the substance of what the agency” did “which is decisive.” Id. (cleaned up). The




                                         5
Case 3:24-cv-00986-E Document 146 Filed 06/12/24                      Page 11 of 20 PageID 2087



Commission has not cited a single rule that, like the Non-Compete Rule, was in

substance a unfair-method-of-competition Rule. 2

         Second, even if there were a practice to ratify, Magnuson-Moss made

“pertinent change[s]” to the FTC Act that demonstrate the absence of ratification—

granting the Commission authority to promulgate UDAP, but not unfair-method-of-

competition, rules. Schor, 478 U.S. at 846. Indeed, that authorization rebuts the

Commission’s position that Section 6(g) already provided power to issue substantive

rules.

         The Commission leans heavily on Magnuson-Moss’s proviso that the Act

“shall not affect any authority of the Commission” to issue unfair-method-of-

competition rules. 15 U.S.C. § 57a(a)(2). But rather than ratify unfair-method-of-

competition rulemaking authority, the phrase “shall not affect any authority” merely

preserves a hypothetical potentiality, demonstrating at most a congressional decision

to dodge the question.

         The legislative history supports that understanding. The Senate removed the

section of its bill granting the Commission rulemaking authority. See S. Rep. 93-151,

at 32 (1973) (discussing S. 986, 92d Cong. § 206 (1971), which would have granted

UDAP, but not unfair-method-of-competition, rulemaking authority). The House


         2
           The “one” unfair-method-of-competition rule Ryan previously mentioned (at 20-21), while an
antitrust rule, was not actually an unfair-method-of-competition rule. See Rule at 26 n.142 (citing Clayton
Act rule).


                                                    6
Case 3:24-cv-00986-E Document 146 Filed 06/12/24                      Page 12 of 20 PageID 2088



bill, however, expressly granted UDAP rulemaking authority while expressly

disclaiming unfair-method-of-competition rulemaking authority; to appease the

Senate’s preference for neutrality, the conference committee agreed on deliberately

neutral language leaving the 1914 status quo in place. See S. Conf. Rep. 93-1408

§ 202 (1974). Moreover, “[t]hat for a [half] century [since] the Commission has”

not promulgated unfair-method-of-competition rules indicates Congress did not

ratify its power to do so; the absence of an “assertion of power by those who

presumably would be alert to exercise it, is … significant in determining whether

such power was actually conferred.” FTC v. Bunte Bros., 312 U.S. 349, 351-52

(1941).3

        Nor did Congress ratify the Commission’s purported unfair-method-of-

competition rulemaking authority by subjecting rules promulgated under Section 6

to the FTC Improvements Act’s enhanced procedures. 15 U.S.C. § 57b-3(a)(1).

Setting aside that there was nothing to ratify, the pertinent section applies to

amendments to preexisting rules. Referring to Section 6 ensured the enhanced

procedures would apply to amendments to UDAP rules promulgated before

Magnuson-Moss. The legislative history confirms that point: “[S]ection 18 is



        3
          Contrary to the Commission’s suggestion (at 18), the reference to Section 18 in Section 6(g)
supports this conclusion. That reference and Section 18(a)(2) reflect “a belt and suspenders approach” to
ensure that the Commission did not promulgate UDAP rules under Section 6(g) regardless of whether it
grants authority. Atl. Richfield Co. v. Christian, 140 S. Ct. 1335, 1350 n.5 (2020). Congress did not grant
authority to issue unfair-method-of-competition rules through negative inference.


                                                    7
Case 3:24-cv-00986-E Document 146 Filed 06/12/24         Page 13 of 20 PageID 2089



specifically limited to authority to issue rules to prohibit [UDAPs]. The clear intent

of Congress in granting this authority was ... not to provide new rulemaking authority

over antitrust violations.” S. Rep. 96-500 at 19 n.6 (1979) (emphasis added).

         3. The Major Questions Doctrine Resolves Any Doubt.

      Whether the Commission has authority to promulgate an unfair-method-of-

competition rule banning non-competes is a textbook major question. This is the

first bona fide unfair-method-of-competition rule; the Commission thus “claims to

discover in a long-extant statute an unheralded power to regulate ‘a significant

portion of the American economy.’” Util. Air Reg. Grp. v. EPA, 573 U.S. 302, 324

(2014) (“UARG”) (citation omitted); see also NFIB v. OSHA, 595 U.S. 109, 119

(2022). The Commission has never before claimed Section 6(g) authorizes it to

establish categorical, nationwide rules prohibiting any business “conduct” it

perceives as “unfair.” ECF 82 at 4. And this particular Rule has “vast economic and

political significance,” nullifying more than 30 million contracts, preempting the

laws of 46 States, and causing over $400 billion in economic impact. West Virginia,

597 U.S. at 716; see Rule at 7 & n.34, 441.

      The Commission nevertheless claims (at 22) that no major question is

presented because “the Commission could bring an enforcement action under

Section 5 charging that the use of non-competes is an unfair method of




                                          8
Case 3:24-cv-00986-E Document 146 Filed 06/12/24                    Page 14 of 20 PageID 2090



competition.” 4 But the scope of the Commission’s rulemaking authority over non-

competes is a major question regardless of its purported adjudicatory authority. In

ICC v. Cincinnati, N. O. & T. P. Ry. Co.—an early major questions case—the

Supreme Court explained that an agency’s rulemaking authority over a subject must

be “open to no misconstruction, but clear and direct,” even when it has clear case-

by-case enforcement authority. 167 U.S. 479, 505 (1897); see West Virginia, 597

U.S. at 740 (Gorsuch, J., concurring) (discussing Cincinnati). That’s because the

“legislat[ive]” power to ban virtually all non-competes is orders of magnitude

broader than the “enforce[ment]” power to enjoin use of a specific non-compete.

Cincinnati, 167 U.S. at 501. Thus, if the Commission’s authority to legislatively

ban non-competes is even “a debatable question,” that is “persuasive” evidence it

cannot wield that power. Id. at 494.

       The Commission’s supposed “expertise” is irrelevant. ECF 82 at 22. The

major questions doctrine is not restricted to cases where an agency acts outside its

expertise. See, e.g., West Virginia, 597 U.S. 697 (EPA emissions rule); UARG, 573

U.S. 302 (same); Biden v. Nebraska, 143 S. Ct. 2355 (2023) (Education Department

cancelling federal student loans).            Regardless, the Commission is not a labor

regulator and has no meaningful experience with non-competes. See ECF 24 at 9, 18.


       4
          Ryan does not concede that the Commission could properly determine that any non-compete is an
unfair method of competition. Ryan focused on the Commission’s authority to issue a blanket ban because
that is what the Rule does.


                                                  9
Case 3:24-cv-00986-E Document 146 Filed 06/12/24                  Page 15 of 20 PageID 2091



Congress needed “to speak clearly” to authorize the Commission to adopt one of the

most sweeping and controversial employment regulations in living memory.

West Virginia, 597 U.S. at 716. It did not.

           B. The Commission’s Claimed Authority Would Violate The Non-
              Delegation Doctrine.

       If the Commission’s interpretation of Section 6(g) is correct, then the FTC Act

unconstitutionally delegates legislative authority. The Commission maintains (at 23)

its authority to legislatively ban “unfair methods of competition” is somehow less

open-ended than the authority to write codes of “fair competition” Schechter held

unconstitutional. But that cannot be if, as the Commission claims, “unfair methods

of competition” is “broader and more flexible” than “unfair competition.” FTC v.

R.F. Keppel & Bro., Inc., 291 U.S. 304, 310-11 (1934).                       Indeed, under the

Commission’s incredibly loose interpretation of the phrase in its Policy Statement—

reaching any “unfair” practice that is not “merely a condition of the marketplace”—

it is even more boundless. ECF 82 at 4 (discussing its Policy Statement). 5

       At minimum, the Court should construe any ambiguity “to avoid serious

constitutional doubts” presented by the FTC’s purported unfair-method-of-

competition rulemaking authority. FCC v. Fox Television Stations, Inc., 556 U.S.

502, 516 (2009).

       5
         The Commission’s assertion (at 31) that Schechter did not rely on the agency’s adjudicatory
enforcement authority is simply false. See Schechter, 295 U.S. at 533 (criticizing Recovery Act for
“dispens[ing] with [FTC Act’s] administrative procedure”).


                                                10
Case 3:24-cv-00986-E Document 146 Filed 06/12/24          Page 16 of 20 PageID 2092



 II.   Ryan Will Be Irreparably Harmed.

       The Commission does not contest that the costs of complying with the Rule

are unrecoverable. See ECF 82 at 38. That alone establishes irreparable injury. Rest.

Law Ctr. v. DOL, 66 F.4th 593, 597 (5th Cir. 2023). So do the other harms resulting

from the Rule. ECF 24 at 25-26. The Commission’s claim (at 38) that “even without

the Rule in place” every non-compete in the country is illegal—and presumably has

been since the FTC Act was enacted—merely illustrates the audacity of the

Commission’s position and the need for a pause pending a decision on the merits.

III.   The Equities And Public Interest Favor Preliminary Relief.

       There is “no public interest in the perpetuation of unlawful agency action.”

Texas v. Biden, 10 F. 4th 538, 560 (5th Cir. 2021). Contrary to the Commission’s

assertion (at 39), that the merits are intertwined with this public interest factor does

not “collapse” the equitable prongs into the merits.

       Regardless, other equitable factors cut sharply in Ryan’s favor. Allowing the

Rule to go into effect would open Pandora’s box; 30 million contracts would be

immediately invalidated, with real-world consequences that could be impossible to

rectify if the Rule is later held unlawful. Granting preliminary relief, on the other

hand, leaves in place the centuries-old status quo while the Court takes a few months

to decide the merits. Moreover, the Commission’s assertion that the Rule’s long-

term benefits outweigh its costs is not only wrong, but irrelevant to the equities of



                                          11
Case 3:24-cv-00986-E Document 146 Filed 06/12/24       Page 17 of 20 PageID 2093



preliminary relief, which would protect countless businesses that have reasonably

relied on the validity and enforceability of non-competes. See Texas v. Becerra, 577

F. Supp. 3d 527, 561 (N.D. Tex. 2021).

                                 CONCLUSION

      The Court should stay the Non-Compete Rule’s effective date and

preliminarily enjoin its enforcement.




                                         12
Case 3:24-cv-00986-E Document 146 Filed 06/12/24    Page 18 of 20 PageID 2094



                                  Respectfully submitted,

Dated: June 12, 2024                     /s/ Allyson N. Ho

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                                    13
Case 3:24-cv-00986-E Document 146 Filed 06/12/24     Page 19 of 20 PageID 2095




                       CERTIFICATE OF COMPLIANCE

      1.      This document complies with the type-volume requirements of Judge

Brown’s Case Management Procedure II.A because it contains 2,476 words; and

      2.      This document complies with the typeface requirements of Judge

Brown’s Case Management Procedure II.A because it has been prepared in a

proportionally spaced typeface using Microsoft Office Word in 14-point Times New

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                         CERTIFICATE OF SERVICE

      I hereby certify that, on June 12, 2024, I caused the foregoing motion to be

filed with the Clerk for the U.S. District Court for the Northern District of Texas

through the ECF system. Participants in the case who are registered ECF users will

be served through the ECF system, as identified by the Notice of Electronic Filing.



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